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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE: EQUIFAX, INC., CUSTOMER
DATA SECURITY BREACH
LITIGATION

MDL DOCKET NO. 2800
1:17md2800-TWT

ALL CASES


I certify that today, December 11, 2017 that I personally e-mail to all counsel on the attached list
Case Management Order No. 1.


/s/Sheila Sewell
Courtroom Deputy Clerk for
Judge Thomas W. Thrash
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